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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK

 THANG DUC NGUYEN, Derivatively on
 Behalf of Nominal Defendant 3D SYSTEMS
 CORPORATION,                             Case No. 1:21-cv-3389-NGG

                   Plaintiff,

             v.

 VYOMESH I. JOSHI, TODD A. BOOTH,
 JEFFREY A. GRAVES, WAYNE PENSKY,
 JAGTAR NARULA, MALISSIA R.
 CLINTON, WILLIAM E. CURRAN,
 THOMAS W. ERICKSON, CHARLES W.
 HULL, WILLIAM D. HUMES, JIM D.
 KEVER, CHARLES G. MCCLURE, JR.,
 KEVIN S. MOORE, VASANT
 PADMANABHAN, JOHN J. TRACY, and
 JEFFREY WADSWORTH,

                   Defendants,

             and

 3D SYSTEMS CORPORATION,

                   Nominal Defendant.
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  GEZA BOHUS, Derivatively on Behalf of
  Nominal Defendant 3D SYSTEMS
  CORPORATION,                                    Case No. 1:22-cv-2203-CBA

                       Plaintiff,

                v.

  VYOMESH I. JOSHI, TODD A. BOOTH,
  JEFFREY A. GRAVES, WAYNE PENSKY,
  JAGTAR NARULA, MALISSIA R.
  CLINTON, WILLIAM E. CURRAN,
  THOMAS W. ERICKSON, CHARLES W.
  HULL, WILLIAM D. HUMES, JIM D.
  KEVER, CHARLES G. MCCLURE, JR.,
  KEVIN S. MOORE, VASANT
  PADMANABHAN, JOHN J. TRACY, and
  JEFFREY WADSWORTH,

                       Defendants,

                and

  3D SYSTEMS CORPORATION,

                       Nominal Defendant.


               STIPULATION AND ORDER CONSOLIDATING CASES,
            APPOINTING CO-LEAD COUNSEL AND RELATED MATTERS

        WHEREAS, on June 15, 2021 and April 18, 2022, stockholders Thang Duc Nguyen and

 Geza Bohus, respectively, filed verified shareholder derivative complaints in this Court (the

 “Actions”) against defendants Vyomesh I. Joshi, Todd A. Booth, Jeffrey A. Graves, Wayne

 Pensky, Jagtar Narula, Malissia R. Clinton, William E. Curran, Thomas W. Erickson, Charles W.

 Hull, William D. Humes, Jim D. Kever, Charles G. McClure, Jr., Kevin S. Moore, Vasant

 Padmanabhan, John J. Tracy, and Jeffrey Wadsworth (the “Individual Defendants”) and 3D

 Systems Corporation (“3D Systems” or “Nominal Defendant,” and together with the Individual

 Defendants, “Defendants”);



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        WHEREAS, plaintiffs in the Actions (“Plaintiffs”) agree that the Actions contain nearly

 identical factual and legal contentions, and the administration of justice would be best served by

 consolidating the Actions and appointing Co-Lead Counsel as set forth herein;

        WHEREAS, on August 27, 2021, the Court granted a motion to stay the Nguyen Action

 (“Order to Stay”) by docket entry;

        WHEREAS, without waiving any rights, arguments, or defenses, Defendants agree the

 Actions should be consolidated and take no position regarding appointment of Co-Lead Counsel;

        WHEREAS, this stipulation is not a waiver of any of the parties’ rights, remedies, claims,

 or defenses.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, and upon approval

 and entry by the Court shall be ORDERED, as follows:

        1.      The Order to Stay entered in the Nguyen Action is temporarily lifted for the limited

 and exclusive purpose of filing this stipulation and the Court entering a ruling thereon. Upon

 consolidation of the Actions and appointment of Co-Lead Counsel for Plaintiffs, the parties agree

 that the Consolidated Action (as defined below) shall remain stayed under the same terms as set

 forth in the Court’s Order to Stay in the Nguyen Action.

        2.      Defendants agree that, pursuant to Fed. R. Civ. P. 4, their counsel shall be deemed

 to have waived service of the complaint on their behalf in the Bohus Action as of the date of this

 Stipulation, but expressly reserve all of their defenses to the claims asserted by Plaintiffs.

        3.      The Actions are hereby consolidated for all purposes, including pretrial

 proceedings, trial, and appeal and are referred to herein as the “Consolidated Action.” Every

 pleading filed in the Consolidated Action or in any separate action included herein, shall bear the

 following caption:




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                  IN RE 3D SYSTEMS CORPORATION
                  STOCKHOLDER DERIVATIVE
                  LITIGATION                                    Master File No.: 1:21-cv-3389-NGG

                  THIS DOCUMENT RELATES TO:




        4.      The files of the Consolidated Action will be maintained in one file under Master

 File No.: 1:21-cv-3389-NGG.

        5.      When a document being filed pertains to all of the actions included within the

 Consolidated Action, the phrase “All Actions” shall appear immediately after the phrase “This

 Document Relates To:”. When a pleading applies only to some, but not all, of the actions included

 within the Consolidated Action, the document shall list, immediately after the phrase “This

 Document Relates To:”, the docket number for each individual action to which the document

 applies, along with the last name of the first listed plaintiff in said action (e.g., Case No. 1:21-cv-

 3389-NGG (“Nguyen”)).

        6.      The following law firms are designated Co-Lead Counsel for Plaintiffs in the

 Consolidated Action:

                   Glancy Prongay & Murray LLP              Hynes & Hernandez, LLC
                   745 Fifth Avenue                         101 Lindenwood Drive, Suite 225
                   New York, NY 10151                       Malvern, PA 19355
                   Telephone: (212) 935-7400                Telephone: (484) 875-3116

        7.      Defendants take no position on the appointment of lead counsel for Plaintiffs.

        8.      Co-Lead Counsel shall represent Plaintiffs in the prosecution of the Consolidated

 Action, determine and present to the Court and opposing parties the position of Plaintiffs on all

 matters arising during pretrial negotiations, delegate and monitor the work performed by Plaintiffs’

 attorneys to ensure that there is no duplication of effort or unnecessary expense, coordinate on

 behalf of the Plaintiffs the initiation and conduct of discovery proceedings, have the authority to


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 negotiate matters with Defendants’ counsel, and perform such other duties as may be incidental to

 the proper coordination of Plaintiffs’ pretrial activities or authorized by further order of the Court.

 Defendants’ counsel may rely on all agreements made with either of Co-Lead Counsel, or other

 duly authorized representative of Co-Lead Counsel, and such agreements shall be binding on all

 Plaintiffs.

         9.     This Stipulation and Order shall apply to each action arising out of the same

 transactions and occurrences and asserting direct and/or derivative state law claims filed in this

 Court or transferred here, and Co-Lead Counsel shall assist the Court by calling to the attention of

 the Court the filing or transfer of any such action, and Co-Lead Counsel shall assure that counsel

 therein receive notice of this Stipulation and Order. Unless otherwise ordered, the terms of all

 orders, rulings, and decisions in the Consolidated Action shall apply to all later shareholder

 derivative actions instituted herein.

         IN WITNESS WHEREOF, the parties, through their undersigned counsel, have executed

 this Stipulation and Order as of this 20th day of May, 2022.


                                                Respectfully submitted,


                                                GLANCY PRONGAY & MURRAY LLP


                                                __/s/ Benjamin I. Sachs-Michaels
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                                                Benjamin I. Sachs-Michaels
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                                                Attorneys for Plaintiff Thang Duc Nguyen




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                                    Thomas W. Erickson, Charles W. Hull, William D.
                                    Humes, Jim D. Kever, Charles G. McClure, Jr.,
                                    Kevin S. Moore, Vasant Padmanabhan, John J.
                                    Tracy, and Jeffrey Wadsworth

DATED: June 16, 2022

                                            ________________________________________
                                            HON. TARYN A. MERKL, U.S.M.J.

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